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 AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                   Southern District
                                                 __________  DistrictofofNew York
                                                                          __________

     STEVEN MITCHELL and BRIAN SPURLOCK,         )
                                                 )
                                                 )
                                                 )
                      Plaintiff(s)               )
                                                 )
                          v.                                              Civil Action No. 1:24-cv-00284
                                                 )
  GANNETT CO., INC.; THE HERALD-MAIL COMPANY     )
 d/b/a DAILY AMERICAN; HOOSIER TIMES, INC. d/b/a )
THE HERALD-TIMES; PALM BEACH NEWSPAPERS, LLC )
         d/b/a THE PALM BEACH POST, et al.       )
                     Defendant(s)                )

                                                 SUMMONS IN A CIVIL ACTION

 To: (Defendant’s name and address) GANNETT CO., INC.
                                        8350 Broad St Ste 2000, Mc Lean, VA, 22102

                                        c/o C T CORPORATION SYSTEM
                                        4701 Cox Rd Ste 285, Glen Allen, VA, 23060



           A lawsuit has been filed against you.

          Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
 are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
 P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
 the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
 whose name and address are: Kevin McCulloch
                                        McCulloch Kleinman Law
                                        501 Fifth Avenue, Suite 1809
                                        New York, New York 10017



        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.



                                                                            CLERK OF COURT


 Date: 1/16/2024                                                                 /s/ J. Gonzalez
                                                                                       Signature of Clerk or Deputy Clerk
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 Civil Action No. 1:24-cv-00284

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
